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  8                           UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
  10
        James Shayler,                                Case No.: 2:20-cv-11107-FMO-GJS
  11
              Plaintiff,                              Defendant’s Witness List
  12
        v.
  13                                                  Trial Date: February 22, 2022
  14
        HB Mat Properties, a California limited       Time: 9:00 a.m.
        liability company; and Does 1-10,             Courtroom: 6D
  15

  16          Defendants.

  17
             Defendant HB Mat Properties, a California limited liability company will call

  18
       the following witness at trial, reserving the right to call any of plaintiff’s witnesses in

  19
       defendant’s case in chief:

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       1.    Nasser Matloob. He will testify to the following: the date of the construction

  21
       of the building, the lack of alterations to the building other than maintenance and

  22
       cosmetic matters, the lack of contact by the plaintiff prior to the filing of the

  23
       complaint and the remediation done at the property after receipt of the complaint.

  24    Date: January 14, 2022                         ________________________________
  25                                                   James S. Link
                                                       Attorney for Defendant
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                                         Defendant’s Witness List
